       Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 1 of 6                                                         PageID #: 1

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination


                                                                                                                                FILED IN THE
                                       UNITED STATES DISTRICT COURT                                                    UNITED STATES DISTRICT COURT
                                                                                                                            DISTRICT OF HAWAII
                                                                                                                      11 August 2021 142 AM lrs
                                                                        for the                                        Michelle Rynne, C
                                                                                                                       Michelle Rynne, Clerk  of Court
                                                                                                                                         lerk of Court

                                                                 District of Hawaii

                                                                - - - - - Division

                         Kyra K.I.L Velez
                                                                          )       CaseNo.       Civil 21-00338-DKW-KJM
                                                                          )                       (to be filled in by the Clerk's Office)
                                                                          )
                             P/aintijf(s)
(Write the full name of each plai111ijf who is filing this complaint.     )
If the names ofall the plaintiffs cannot fit in the space above.          )       Jury Trial:   (check one)   ~Yes 0            No
please write "see attached" i11 the space and attach an additional        )
page with the fall list ofnames.)
                                                                          )
                                 -v-
                                                                          )
                                                                          )
                       Bennett Dorrance Jr                               )
                           One Heart                                     )
                         Kohala Institute                                )
                              Defendant(s)                               )
(Write the full name of each defendant who is being sued. If the         )
names ofall the defendants cannot fit in the space above, please
                                                                         )
write "see attached " in the space and attach an additional page
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name                                 Kyra K.1.L Velez

                               Street Address                       PO Box 1282

                               City and County                      Kamuela, Hawaii
                               State and Zip Code                   Hawaii 96743
                                                                                  --------------------
                              Telephone Number                     808-315-0777

                              E-mail Address                       kaleinani47@yahoo.com


          8.        The Defendant(s)

                    Provide the infonnation below for each defendant named in lhe complaint, w hether the defendant is an
                    individual, a government agency, an organii.ation, or a corporation. For an individual defendant,
                    include the person's job or title (iflcnown). Attach additional pages if needed.

                                                                                                                                            Pqelof6
      Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 2 of 6                                      PageID #: 2

Pro Sc 7 (Rev. 12/16) Complaint for Employment Discrimination


                     Defendant No. I
                               Name                             Bennett Dorrance Jr
                               Job or Title (if known)          Managing Director, Agent and/or Owner
                               Street Address                   55-567 Lincoln Ave. - Kahei-Puuepa 2nd/ PO Box 511
                               City and County                  Hawi, Hawaii
                               State and Zip Code               Hawaii 96719
                               Telephone Number                 (808) 640-7887
                               E-mail Address (if known)        baloha@gmail.com


                    Defendant No. 2
                               Name                             Kohala Institute at 'Iola
                               Job or Title (if known)
                               Street Address                   53-580 Iola Road/ PO Box 344
                               City and County                  Kapaau, Hawaii
                               State and Zip Code               Hawaii 96755
                               Telephone Number                 (808) 930-6653
                               E-mail Address (ifknown)         admin@kohalainstitute.org


                    Defendant No. 3
                              Name                              One Heart LLC
                              Job or Title (ifknown)
                              Street Address                    55-514 Hawi Road/ PO Box 511
                              City and County                   Hawi, Hawaii
                              State and Zip Code                Hawaii 96719
                              Telephone Number                  (808) 889-0404
                              E-mail Address (ifknown)


                   Defendant No. 4
                             Name
                             Job or Title (ifknown)
                             Street Address
                             City and County
                             State and Zip Code
                             Telephone Number
                             E-mail Address (if known)



                                                                                                                     1'18e2of6
      Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 3 of 6                                      PageID #: 3



        C.       Place of Employment

                 The address at which I sought employment or was employed by the defendant(s) is

                         Name                             Kohala Institute at 'lole
                         Street Address                   53-580 lole Road
                         City and County                  Kapaau, Hawaii
                         State and Zip Code               Hawaii 96755
                         Telephone Number                 (808) 930-6653


II.     Basis for Jurisdiction

        This action is brought for discrimination in employment pursuant to (check all that apply):

              !II'I        Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,
                           color, gender, religion, national origin).

                           (Note: In order to bring suit in federal district court under Title VII, you must first obtain a
                           Notice ofRight to Sue letter from the Equal Employment Opportunity Commission.)

             lei'!         Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                           (Note: In order to bring suit in federal district court under the Age Discrimination in
                           Employment Act, you must first file a charge with the Equal Employment Opportunity
                           Commission.)


             !II'!         Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

                          (Note: In order to bring suit in federal district court under the Americans with Disabilities
                          Act, you must first obtain a Notice ofRight to Sue letter from the Equal Employment
                          Opportunity Commission.)

             lv"!         Other federal law (specify the federal law):
                          Whistleblower Protection Act, Prohibition against retaliation & coercion, OSH Act of 1970

                          Relevant state law (specify, if known):
                          Wrongful Termination, Retaliation, Intentional infliction of emotional distress

             •            Relevant city or county law (specify, if known):




                                                                                                                     Page Jof 6
      Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 4 of 6                                              PageID #: 4


Pro Sc 7 (Rev. 12/16) Complaint for Employment Discrimination



ID.         Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

           A.       The discriminatory conduct of which I complain in this action includes (check all that apply):


                           ~              Failure to hire me.
                           ~              Termination of my employment.
                           D              Failure to promote me.
                           D              Failure to accommodate my disability.
                           ~              Unequal terms and conditions ofmy employment.
                           ~              Retaliation.
                           ~              Other acts (specify):    Failed to rehire me & hired someone younger and less qualified
                                          (Note: Only those grounds raised in the charge filed with the Equal Employ ment
                                          Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)

       B.           It is my best recollection that the alleged discriminatory acts occurred on date(s)
                   8/27/2019, 8/29/2019, 9/10/2019, 9/25/2019


       C.           I believe that defendant(s) (check one):
                          ~              is/are still committing these acts against me.
                          D              is/are not still committing these acts against me.


      D.           Defendant(s) discriminated against me based on my (check all that apply and explain) :

                           •             race

                          •              color

                          •              gender/sex

                          •              religion

                          •~             national origin
                                         age (year ofbirth)          1974      (only when asserting a claim ofage discrimination.)

                          •              disability or perceived disability (specify disability)



      E.           The facts ofmy case are as follows. Attach additional pages if needed.




                                                                                                                            Page4 of 6
        Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 5 of 6                                           PageID #: 5


Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

                    The facts of my case are as follows:
                    1. I was employed by Kohala Institute from October 2016 and laid off on 12/2/2017 due to lack of grant
                    funding.
                    2.12/02/2017, a contract for independent contractor services was drawn up between me and Kohala
                    Institute.
                    3. My contracted services continued even after I was rehired as a payroll employee on 8/6/2018.
                    Please see attached.



                    (Note: As additional support for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)

IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)
                    6/1/2020



        B.          The Equal Employment Opportunity Commission (check one):

                           •~             bas not issued a Notice of Right to Sue letter.
                                          issued a Notice of Right to Sue letter, which I received on (date)   05/12/2021
                                         (Note: Attach a copy ofthe Notice ofRight to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

        C.          Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):

                           D             60 days or more have elapsed.
                           D             less than 60 days have elapsed.

V.      Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
       arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
       amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
       or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
       money damages.




                                                                                                                            Pq,e5 of 6
       Case 1:21-cv-00338-DKW-KJM Document 1 Filed 08/11/21 Page 6 of 6                                     PageID #: 6

Pro Sc 7 (Rev. 12/16) Complaint for Employment Discrimination

        $179,200 in past loss wages and benefits due to discrimination, retaliation and not being awarded equal
        employment opportunities.
        $200,000 In damages for emotional distress because I lost all income to support my family when I was laid off, my
        business contracts were terminated and I was not rehired all in September of 2019.
        All attorney's fees and court costs.
        Punitive damages to be determined by the courts.




VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
        and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule 11.



        A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:                  08/10/2021


                    Signature of Plaintiff
                    Printed Name of Plaintiff

       B.           For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




                                                                                                                     ,.6ol6
